Case 3:16-cv-08277-DLR Document 24-2 Filed 10/18/17 Page 1 of 7

EXhibit 2

Caliber Home Loans, Inc.,
Summit Services Realty LLC and LSF9 Master Participation Trust
Identifies Themselves
Certified Letters
"T 0 Collect A Debt"
Trustee Sale 11/23/2016

NO. CV-16~08277~PCT-DLR

Case 3:16-cv-08277-DLR Document 24-2 Filed 10/18/17 Page 2 of 7

2763 Camino Del Rio S., lst FL

Summit 'I`rustee Services
San Diego, CA 92108

7L[|3 “H=EB 5‘:|'-|2 3|]55 |JEEU

llll|."l.ll.l.|..|l|l.l|.|l|llll..|"..ll.m||||l.l|l,l""||l|
|lll||ll||lll|||ll!|ll||l|||l|l|[|ll||ll||l|l||||||ll|l||ll|

AZ-16-6657-JY

MlCHAELJ BROSNAHAN

21 HUMM|NGBIRD ClR
SEDONA, AZ 86336-7012

munnmljnlgq[lllglglg¢glilz¢lllmm

 

ll|||||

*VRO4*

Case 3:16-cv-08277-DLR Document 24-2 Filed 10/18/17 Page 3 of 7
Official Records of Coconino County 3761245

Patty Hansen - Recorder 08/24/2016 03:06:08 Pl\/| Pgs: 2
S|l\/lPL|FlLE LC E-RECORD|NG TS $9.00

Recording requested by:

When recorded mail to:

Caliber Home Loans, lnc. - Document Control
13801 WlREl.ESS WAY

OKLAHOMA C|TY, OK 73134

 

Space above this line for recorders use
Order No.: 160175865-AZ-V0l TS No.: AZ-16-6657-.l¥ APN :401-51-046 5
Notice of Trustee‘s Sale

The following legally described trust property will be so|d, pursuant to the power of Sale under that certain Deed
of Trust dated 5/25/2006 and recorded 5/31/2006 as instrument 3386186, Book xxx, Page xxx, and loan
modification dated 9/4/2009 and recorded on 9/4/2009 as |nstrument Number 3537378, in Book XX, Page XX in
the office of the County Recorder of COCON|NO County, Arizona; and at public auction to the highest bidder.
Notice! lf you believe there is a defense to the trustee sale or if you have an objection to the trustee sale, you
must file an action and obtain a court order pursuant to rule 65, Arizona rules of civil procedure, stopping the
sale no later than 5:00 p.m. mountain standard time of the last business day before the scheduled date of the
sale, or you may have waived any defenses or objections to the sale. Un|ess you obtain an order, the sale will be
final:

Saie Date and Time: 11/23/2016 at 11:00 AM

Sale Location: On the steps facing Gurley Street at the Old Yavapai County Courthouse located
at 120 S. Cortez Street, Prescott AZ 86303

Legal Description: LOT 33, OF CHAPEL BELLS ESTATES UN|T 4, ACCORD|NG TO CHASE 2 OF MAPS,
PAGE 324, RECORDS OF COCON|NO COUNTY, ARlZONA

Purported Street Address: 21 HUMM|NGB|RD C|R, SEDONA, AZ 86336

Tax Parcel Number: 401-51-046 5

Original Principal Balance: $373,500.00

Name and Address of Current Beneflciary: LSF9 Master Participation Trust, by Caliber Home Loans, lnc.,

solely in its capacity as servicer
C/O Caliber Home Loans, lnc.
16745 W. Bernardo Drive, Ste 300

San Diego, CA 92127

Name and Address Of Origina| TruStor: MlCHAELJ BROSNAHAN , A MARR|ED MAN AS HlS SOLE &
SEPARATE PROPERTY
21 HUMMINGB|RD C|R, SEDONA, AZ 86336-7012

Name and Address of Trustee/Agent: SUMM|T SERV|CES AND REALTY, LLC
16745 W. Bernardo Dr., Ste 100
San Diego, CA 92127

Case 3:16-cv-08277-DLR Document 24-2 Filed 10/18/17 Page 4 of 7
3761245 Pages: 2 0f2 08/24/2016 03:06:08 Pl\/l

Phone: (866) 248-2679

Sales Line: 714-730-2727

Login to: www.service|inkasap.com
AZ-16#6657-JY

The successor trustee qualifies to act as a trustee under A.R.S. §33-803A (1) in its capacity as a licensed Arizona
Real Estate Broker. lf the Trustee is unable to convey title for any reason, the successful bidder’s sole and
exclusive remedy shall be the return of monies paid to the Trustee, and the successful bidder shall have no
further recourse. lf the sale is set aside for any reason, the Purchaser at the sale shall be entitled only to a return
of the deposit paid. The Purchaser shall have no further recourse against the Mortgagor, the Mortgagee, or the
Mortgagee's Attorney.

Dated! 8/23/2016 SUMMIT S CV , LLC
/

\/

By: lustin ¥ahnke, AVP

 

 

A notary public or other officer completing this certificate verifies only the identity of the individual who signed the document to
which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

 

State of California )

County of San Diego )

On 8/23/2016 before me, lanet M. Smith, the undersigned Notary Public, personally appeared Justin Yahnke, who
proved to me on the basis of satisfactory evidence to be the person whose name is subscribed to the within
instrument and acknowledged to me that he executed the same in his authorized capacity, and that by his
signature on the instrument the person, or the entity upon behalf of which the person acted, executed the
instrument. ' '

l certify under PENALTY OF PERJURY under the laws of the State of Ca|ifornia that the foregoing paragraph is true
and correct. `

WlTNESS my hand and official seal JANET M_ SM!TH

Commiulon # 1997808
Notary Public - Calilornia

M/Vy\ § Q_.__- W} San Dlego County \
signature ` `_/e/; M ,LA M '~ (seal) l ' ' Mycomm. Expiresnov 11. 2016[

 

lfyou have prevTously been discharged through bankruptcy, you may have been released of personal liability for
this loan in which case this letter is intended to exercise the note holder's rights against the real property only.
TH|S OFFlCE lS ATTEMPT|NG TO COLLECT A DEBT AND ANY INFORMATlON OBTAINED WlLL BE USED FOR THAT
PURPOSE.
As required by law, you are hereby notified that a negative credit report reflecting on your credit record may be
Y'- . submitted to a credit report agency if you fail to fulfill the terms of your credit obligations.

 

l»VNN

Case 3:16-cv-08277-DLR Document 24-2 Filed 10/18/17 Page 5 of 7
thcia| Records of Coconino County 3761244

Patty Hansen - Recorder 08/24/2016 03:06:08 Pl\/l Pgs: 2
S|i\/iPLiF|LE LC E-RECORD|NG NST $9.00

Recording Requested by:

When recorded mail to:

Caliber Home Loans, lnc. - Document Control
13801 WlRELESS WAY

OKLAHOMA C|TY, OK 73134

 

Space above this line for recorders use
TS # AZ-16-6657~JY Order # 160175865-AZ-VO|

Substitution of Trustee

WHEREAS, M|CHAEL .l BROSNAHAN , A MARR|ED MAN AS HlS SOLE & SEPARATE PROPERTY
was the original Trustor, F|DEL|T¥ NATlONAL TlTLE lNSURANCE COMPANY was the original Trustee,
and MORTGAGE ELECTRON|C REG|STRAT|ON SYSTEMS, |NC., AS NOM|NEE FOR COUNTRYWIDE BANK,
N.A., |TS SUCCESSORS AND ASSlGNS was the original Beneficiary under that certain Deed of Trust
dated 5/25/2006 and recorded on 5/31/2006 as instrument No. 3386186, in book xxx, page xxx and
loan modification dated 9/4/2009 and recorded on 9/4/2009 as instrument Number 3537378, in Book
XX, Page XX of Offlcial Records of COCON|NO County, AZ describing land therein as LOT 33, OF CHAPEL
BELLS ESTATES UN|T 4, ACCORD|NG TO CHASE 2 OF MAPS, PAGE 324, RECORDS OF COCON|NO
COUNTY,AR|ZONA. and,'

WHEREAS, the undersigned is the present Beneficiary under said Deed of Trust, and

WHEREAS, the undersigned desires to substitute a new Trustee under said Deed of Trust in
place and stead of said original Trustee, or Successor Trustee, thereunder, in the manner provided for in
said Deed of Trust,

NOW, THEREFORE, the undersigned hereby substitutes SUMM|T SERV|CES AND REALTY, LLC, a

Caiifornia Corporation, whose address is 16745 W. Bernardo Dr. Suite 100, San Diego, CA 92127 as
Trustee under said Deed of Trust.

The successor trustee qualifies to act as a trustee under A.R.S. §33-803A (1) in its capacity as a
licensed Arizona Real Estate Broker.

Page 1

Case 3:16-cv-08277-DLR Document 24-2 'Filed 10/18/17 Page 6 of 7
3761244 Pages: 2 of2 08/24/2016 03106:08 Pl\/l

Substitution of Trustee - AZ
TS # AZ~16-6657-JY
Page 2

Dated: g

LSF9 Master Participation Trust, by Caliber Home Loans,
inc., solely in its capacity as servicer

 

By: BrandyWy V U

Aumorized signatory

 

 

A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

 

State of California
) ss
County of San Diego

On M|§ 2 2 Zm§ before me, Jeannette L- Fau$t , the undersigned Notary Public,
personal y appeared 'Rrandy LowIL who proved to me on the basis of satisfactory

evidence be the person whose name is ubscribed to the within instrument and ac owledged to me
that he@executed the same in hi,authorized capacity, and that by hiMsignature on the _

instrument the person, or the entity upon behalf of which the person acted, executed the instrument.

 

l certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct. »

     
  
 
 

  

JEAIII`ITE |.. FM|$T

WiTNESS my hand and official seal wma,°c“"‘l ul

  

Signature

 

Case 3:16-cv-08277-DLR Document 24-2 Filed 10/18/17 Page 7 of 7

 

STATEN¥ENT OF BREACH OR NGN-PERFORMANCE

§illlill|§lllllllllillllllll|i§lllll§lliil|lli|llllll!illlllll§§i|liilll;iillili|lilllll§lé!lll|l

 

 

 

'I`S No.; AZ»16~6657-JY
l-oan No.: 9804529874

NOTICE IS HEREB'Y GIVEN that a breach or nonperformance of the Trust Deed mentioned in the “Notice of
"I`rustee`s Sale” to Which this Staternent of Breach or Non~Performance is attached has occurred The nature of such
breach of nonperformance is as follows;

"l"he installments of principal and interest which became due on l/lf"ZOOQ, and all subsequent installments of
principal and interest through the date of this Notice, plus amounts that are due for late charges, delinquent property
taxes, insurance premiuins, advances made on senior liens, taxes auditor insurance trustee’s fees, and any attorney
fees and court costs arising from or associated with the beneficiaries efforts to protect and preserve its security, all of
which must be paid as a condition of reinstatement, including all sums that shall accrue through reinstatement or pay-
off. Nothing in this notice shall be construed as a Waiver of any fees owing to the Beneficiary under the Deed of
Trust pursuant to the terms of the loan documents

Beneficiary represents the address of the property in default as:
Purported Street Address: 21 HUMMINGBIRD CIR. SEDONA, AZ 86336

'l" he Beneficiary elects to sell or cause to be sold such property under the Trust Deed.

_ LSFS? Master Participation Trust, by Caliber Home Loans, lnc.,
Dated: 3/ 29/ 291 6 solely in its capacity as servicer, by Summit “.i"rustee, as agent

 

 

IF YOUR PROPERTY IS IN FORECLOSURE because you are delinquent in payments it may be sold without any
court action as stated in the enclosed Notice ot` Trustee’s Sale, You have the legal right to bring your account in
good standing by paying all your past due payments plus permitted costs and expenses before S:OO p.rn. mountain
standard time on the last day other than a Saturday or legal holiday before the date of sale or the filing of an action to
foreclose the trust deed.

IF YOUR INTEREST IN ?HE TRUST PROPERTY lS SU`BORDINATE in priority to that of the Deed of Trust,
being foreclosed your interest may be subject to being terminated by the Trustce’s Saie.

'i`o find out the amount you must pay or to arrange for payment to stop the foreclosure or if your property is in
foreclosure for any other reason, contact

CALIBER HGME LOANS, LNC.

16745 W. Bernardo Dr. Ste 309

San Diego, CA 92127

(866) 656*0968

